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Jennifer Isso, Esq.

State Bar #NV 13157

ISSO & HUGHES LAW FIRM
2470 Saint Rose Parkway #306F
Henderson, NV 89074

Tel: (702) 434-4424

Fax: (702) 420-2423

Email:
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
In re: ) Case No. 19-12664-abl
) Chapter 13
DIVINA AQUINO )
) MOTION UNDER RULES
Debtor. ) 7052 AND 9024
)
) Hearing Date: July 22, 2020
) Hearing Time: 9:30 a.m,
)
)
iy

 

 

 

Comes now DIVINA AQUINO, Debtor in the above-captioned bankruptcy case, by and
through her undersigned counsel, and files this Motion based on the Memorandum of Points and
Authorities as follows:

Memorandum of Points and Authorities
Statement of Facts

1. The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on
April 30, 2019.

2. The United States Trustee (“UST”) filed a motion to dismiss the Debtor's Chapter
7 case under 11 U.S.C. § 707(b) on August 6, 2019.

a The Debtor agreed to resolve the UST’s motion by converting her case to Chapter

13. The Court entered an order converting the case to Chapter 13 on September 17, 2019.

 
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4. The Debtor filed an Amended Chapter 13 Plan Number 2 (“Plan”) on November
4, 2019. The Plan provides that the Debtor must make $600.00 monthly payments to the Chapter
13 Trustee beginning October 1, 2019.

5. On January 30, 2020, the Chapter 13 Trustee (“Trustee”) filed a motion to
dismiss this case (“Motion to Dismiss”).

6. On February 10, 2020, the Trustee filed a Trustee’s Opposition to Confirmation of
Plan #2 Combined with Trustee’s Recommendation for Dismissal (“Opposition”). The
Argument section of this document advances no arguments that were not contained in the
Argument section of the Motion to dismiss.

7. On February 27, 2020, the Debtor filed an objection to the Motion to Dismiss,
which addressed the Argument section of the Motion to Dismiss, and therefore by extension the
Argument section of the Opposition.

8. On March 12, 2020, the Court held a hearing on the Motion to Dismiss and the
Opposition.

9, On April 29, 2020, the Court held a second hearing on the Motion to Dismiss and
the Opposition.

10. On May 27, 2020, the Court held a final hearing on the Motion to Dismiss and the
Opposition. That hearing is not reflected on the Court’s electronic docket.

Il. After the hearing on May 27, 2020, the Trustee sent a proposed order to Debtor's
counsel for review, which order states, “All F indings of Fact and Conclusions of Law as stated
on the record are incorporated herein.” As the final hearing on May 27, 2020 does not appear on
the Court’s electronic document, it is impossible to verify what “Findings of Fact and

Conclusions of Law” are referenced by that order. The order also states, “confirmation ava

 
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DENIED for failure to comply with 11 U.S.C. § 1325(a(1) and (3).” Debtor's counsel objected
to this language and explained to the Trustee the basis for that objection. See “Exhibit I”. When
the Trustee submitted the order to the Court, the details of the Debtor’s objection were not
communicated to, nor considered by, the Court.

12. The Trustee indicated that she believed the Court intended to deny “confirmation
due to the fact that (1) the Debtor was not current with plan payments and (2) the plan was not
proposed in good faith.” Neither of these bases for denial of confirmation falls under 11 U.S.C. §
1325(a)(1). In addition, the Trustee never raised the issuc that the plan was not proposed in good
faith in her Motion to Dismiss. Rather, she argued that the plan failed to comply with the
requirements of the Bankruptcy Code because the Debtor proposed to continue making voluntary
contributions to her retirement account.

13. As of the date this motion is filed, the Debtor is current on her plan payments, See
“Exhibit 2” having paid a total of $5,400 to the Chapter 13 Trustee as follows:

a. $400 paid on October 31, 2019:
b. $400 paid on November 4, 2019:
¢. $600 paid on December 4, 2019:
d. $600 paid on January 6, 2020:

e. $400 paid on February 14, 2020:
f. $600 paid on February 14, 2020:
g. $600 paid on May 1, 2020:

h. $600 paid on May 1, 2020:

i. $600 paid on May 29, 2020: and

J. $600 paid on June 9, 2020.

 
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Argument
14. Federal Rule of Civil Procedure 52(b), made applicable to this proceeding by

Federal Rules of Bankruptcy Procedure 7052 and 9014, states: “On a party’s motion . . . the
court may amend its findings — or make additional findings — and may amend the judgment
accordingly.” Fed. R. Civ. P. 52(b).

15. One purpose of Rule 52 is to aid the trier of fact (here, this Court) in its process of
adjudication. See, e.g., Swanson v. Levy, 509 F.2d 859, 860-61 (9th Cir. 1975); Jess v. Carey (In
re Jess), 169 F.3d 1204, 1208-09 (9th Cir. 1999):

16. Here, because the Trustee and the Debtor plainly had different understandings of
the findings and conclusions laid out by the Court on the record, the Trustee should not have
submitted an order that simply incorporated them by reference. Instead, the Trustee should have
submitted an order that explicitly stated the Court’s findings of fact and conclusions of law so
that there is a clear understanding of the basis for the Court’s ruling. When counsel objected to
the proposed order prepared by the Trustee, the Trustee disregarded Counsel’s objections and
submitted the order to the Court without Counsel’s signature.

17. Federal Rule of Civil Procedure 60(b)\(6), made applicable to this proceeding by
Federal Rule of Bankruptcy Procedure 9024, states: “On motion and just terms, the court may
relieve a party . .. froma final .. . order . . . for. - - any other reason that justifies relief.” Fed. R.
Civ. P. 60(b)(6).

18. The Debtor is now current on her plan payments, and was only two (2) days
behind on plan payments when the order denying confirmation of her plan was entered. To the

extent that the Court denied confirmation based on failure to make plan payments,’ we request

 

‘The Debtor contends that neither of the statutory provisions recited in the order applies to this circumstance, but
the Trustee asserted that confirmation was denied for this reason.

 
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that the Court amend the Order submitted by the Trustee without Counsel’s signature in the
process of amending and/or restating its findings of fact and conclusions of law, reconsider that
basis and reject it as a basis for denying confirmation.

WHEREFORE, the Debtor respectfully requests that the Court vacate the order entered on June
3, 2020, and replace it with an order prepared by the Court that clearly identifies the findings of
fact and conclusions of law that form the basis for denying confirmation of the Debtor's
Amended Chapter 13 Plan # 2.

Date: June 16, 2020 ISSO & HUGHES LAW FIRM

By: __s/Jenmifer Isso, Esq.
Jennifer Isso, Esq.
CERTIFICATE OF SERVICE
On June 16, 2020, the preceding document and the notice of hearing was served via this
Court’s electronic filing system, thereby cffectuating service under Local Rule IC 4-1(a) on all
participants in this case who have registered for the electronic filing system for this Court. To all

those attached to ECF.

 
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Exhibit 1

 

 

 
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RE: 19-12664-abl Aquino

Danielle N. Gueck-Townsend <Danielle@LAS13.com>
Mon 6/1/2020 12:42 PM

To: Jennifer Isso <ji@issohugheslaw.com>: Mickey Bell <MickeyB@LAS13.com>
Ce: Bobbi Gillespie <BOBBI@LAS13.com>

Good Afternoon Ms. Isso:

| disagree with your interpretation of the ruling. | believe Judge Landis was clear that he was denying
confirmation due to the fact that (1) the Debtor was not current with plan payments and (2) the plan was
not proposed in good faith. We will submit the order indicating that you disapprove. Please let me know if
you have any questions.

Thank you,
Danielle

Danielle N. Gueck-Townsend, Esq.
Staff Attorney

Kathleen A. Leavitt, Chapter 13 Trustee
711 South 4th Street, Suite 101

Las Vegas, NV 89101

(702) 853-0700

From: Jennifer Isso <ji@issohugheslaw.com>

Sent: Monday, June 1, 2020 12:29 PM

To: Mickey Bell <MickeyB@LAS13.com>

Ce: Danielle N. Gueck-Townsend <Danielle@LAS13.com>; Bobbi Gillespie <BOBBI@LAS13.com>
Subject: Re: 19-12664-ab! Aquino

Hello,

Thank you, Jennifer

Get
From: Mickey Bell < >

Sent: Wednesday, May 27, 2020 11:53 AM

To: Jennifer Isso

Ce: Danielle N. Gueck-Townsend: Bobbi Gillespie

Subject: 19-12664-abl Aquino

 

 

 

 

 

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Good Morning, Ms. Isso:

Attached hereto is the Order which was prepared from the confirmation hearing held this morning for
your review. If approved, please execute and return same to my attention; or, provide authorization to
affix your electronic signature, within three (3) business days.

Should you have any questions or concerns regarding this matter, please contact our in-house counsel,
Danielle Gueck-Townsend, at the phone number indicated below, Ext. 722. Thanking you in advance
for your anticipated cooperation in this matter.

Thank you,
Mickey

Mickey J. Bell

Senior Paralegal for

Kathleen A. Leavitt

Chapter 13 Bankruptcy Trustee
711 South 4th Street, Suite 101
Las Vegas, NV 89101

(702) 853-0700

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Exhibit 2

 

 

 
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Dashboard Case Trustee Attorney Debtor
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passions DATACENTER ~— Welcome. Jennifer Isso oy

on Case Number: 1912664

CASE TRUSTEE: Kathleen A. Leavitt (Las Vegas, NV) NDC CASE STATUS:
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Jennifer Isso, Esq.

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Email:

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
Case No. 19-12664-ab!

Chapter 13

NOTICE OF HEARING ON
MOTION UNDER RULES
7052 AND 9024

In re:
DIVINA AQUINO
Debtor.

Hearing Date: July 22, 2020
Hearing Time: 9:30 a.m.

Ne Nee ee ee ee ee ee ee

NOTICE IS HEREBY GIVEN that a MOTION UNDER RULES 7052 AND 9024 was filed
on June 17, 2020 by the Debtor. The Motion seeks the following relief: to vacate the order

entered on June 3, 2020, and replace it with an order prepared by the Court that clearly identifies

the findings of fact and conclusions of law that form the basis for denying confirmation of the
Debtor's Amended Chapter 13 Plan # 2. Any opposition must be filed pursuant to Local Rule

9014.

NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief sought in
the Motion, or if you want the court to consider your views on the Motion, then you must file an
Opposition with the court, and serve a copy on the person making the Motion no later than 14

days preceding the hearing date for the Motion, unless an exception applies (see Local Rule

 
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9014(d)(3)). The Opposition must state your Position, set forth all relevant facts and legal

authority, and be supported by affidavits or declarations that conform to Local Rule 9014(c).

If you object to the relief requested, you must file a WRITTEN response to this pleading with
the court. You must also serve your written response on the person who sent you this notice.

If you do not file a written response with the court, or if you do not serve your written response
on the person who sent you this notice, then:

* The court may refuse to allow you to speak at the scheduled hearing: and
* The court may rule against you without formally calling the matter at the hearing.

NOTICE IS FURTHER GIVEN that the hearing on the said Motion will be held before Chief
Bankruptcy Judge Landis, in the Foley Federal Building, 300 Las Vegas Boulevard South, Las
Vegas, Nevada 89101, Courtroom I, on July 22, 2020 at the hour of 9:30 a.m.

Date: June 16, 2020 ISSO & HUGHES LAW FIRM

By: ____s/Jenmifer Isso, Esq. esi
Jennifer Isso, Esq.

 
